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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

OHIO SECURITY INSURANCE
COMPANY, as subrogree of Subrayan
Investments LLC d/b/a Quality Inn, a
New Hampshire domestic insurance
corporation,

Plaintiff,
Vv.

WESTERN STATES FIRE
PROTECTION COMPANY,

Defendant.

 

 

CV 20-40-M-DWM

ORDER

Defendant moves for the admission of Thomas L. Beam to practice before

this Court in this case with Michael Johnson to act as local counsel. Mr. Beam’s

application appears to be in order.

Accordingly, IT IS ORDERED that Plaintiff’s motion to admit Michael D.

Goodstein pro hac vice (Doc. 31) is GRANTED on the condition that pro hac

counsel shall do his own work. This means that pro hac counsel must do his own

writing; sign his own pleadings, motions, and briefs; and appear and participate

personally. Counsel shall take steps to register in the Court’s electronic filing
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system (“CM-ECF”). Further information is available on the Court’s website,
www.mtd.uscourts.gov, or from the Clerk’s Office.

IT IS FURTHER ORDERED that this Order is subject to withdrawal unless
pro hac counsel, within fifteen (15) days of the date of this Order, files a notice
acknowledging counsel’s admission under the terms set forth above. In that notice,
counsel shall also designate a single attorney with the authority to make any and all

decisions related to the administration of this case as the primary point of contact

for the opposing party.

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DATED this day of September, 2021.

 

Donkld W/M lloy, District Judge
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